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                                                                                       HI L E D
                                                                                   IN OPFN COURT
                            IN THE UNITED STATES DISTRICT
                           FOR THE EASTERN DISTRICT OF VIRGINI
                                       Newport News Division                       NOV 1 3 2007

                                                                              CLERK, U.S. DISTRICT COURT
                                                                                     NORrOIK VA
UNITED STATES OF AMERICA,

V.
                                                            CRIMINAL NO.   4:07cr69

CLIFTON RICHARD ZABEL,

                 Defendant.




                                  REPORT AND RECOMMENDATION
                                  CONCERNING PLEA OF GUILTY


        The Defendant, by consent, has appeared before me pursuant to

Federal Rule of Criminal Procedure 11, and referral from a United

States District Judge,                 and has entered a plea of guilty to Counts

1    and   13    of       the   Superseding         Indictment.      After   cautioning      and

examining the Defendant under oath concerning each of the subjects

mentioned in Rule                11,    I   determined that        the guilty pleas        were

knowledgeable and voluntary,                        and that    the offenses charged are

supported by an independent basis in fact establishing each of the

essential elements of such offenses.                           I therefore recommend that

the pleas of guilty be accepted and that the Defendant be adjudged

guilty and have sentence imposed accordingly.

        Failure           to    file   written        objections     to    this   Report     and

Recommendation within ten                    (10)    days    from the date of its service

shall      bar       an    aggrieved        party     from    attacking    such   Report    and

Recommendation before the assigned United States District Judge.

28   U.S.C.      §   636(b)(1)(B).
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                                         UNITED S-MTES MAGISTRATE JUDGE
Norfolk,   Virginia

November 1$, 2007
